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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

BACKERTOP LICENSING LLC,             )
                                     )
           Plaintiff,                )
                                     )
     V.                              )   Civil Action No. 22-572-CFC
                                     )
CANARY CONNECT, INC.,                )
                                     )
           Defendant.                )

BACKERTOP LICENSING LLC,             )
                                     )
           Plaintiff,                )
                                     )
     v.                              )   Civil Action No. 22-573-CFC
                                     )
AUGUST HOME, INC.,                   )
                                     )
           Defendant.                )


David L. Finger, FINGER & SLANINA, LLC, Wilmington, Delaware; Jimmy C.
Chong, CHONG LAW FIRM, PA, Wilmington, Delaware; Ronald W. Bums,
Frisco, Texas

           Counsel for Plaintiff Backertop Licensing LLC

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           Counsel for Lori LaPray

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Delaware; Mark K. Suri, HINSHAW & CULBERTSON LLP, Chicago, Illinois

           Counsel for Defendant Canary Connect, Inc.
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Jeremy Douglas Anderson, FISH & RICHARDSON, P.C., Wilmington, Delaware;
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           Counsel for Defendant August Home, Inc.



                       MEMORANDUM OPINION




August 21, 2023
Wilmington, Delaware



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                                                                              JUDGE


      I held on August 1, 2023 a hearing to provide PlaintiffBackertop Licensing

LLC and its sole member and owner, Ms. Lori LaPray, an opportunity to show

cause as to why Ms. LaPray should not be held in civil contempt for refusing to

comply with a May 31, 2023 Memorandum Order requiring Ms. LaPray to appear

at a hearing held on July 20, 2023 and for what Backertop and Ms. LaPray

characterize as their "declin[ing] to participate further" in these proceedings, No.

22-572, D.I. 48 at 19; No. 22-573, D.I. 52 at 19. 1 I had ordered Ms. LaPray to

appear on July 20 "to address at least Mr. Chang's motion to withdraw [as counsel

for Backertop] and the document production made by Backertop on May 9[,

2023]." D.I. 37 at 8 (citations omitted). The reasons that gave rise to that order are

set forth in detail in my May 1, 2023 Memorandum Opinion;2 May 31, 2023

Memorandum Order; 3 July 10, 2023 Memorandum Opinion; 4 and Nimitz



1
  Backertop's filings are identical in both actions. Unless otherwise noted, all
citations to Backertop's filings that follow are from Civil Action No. 22-572.
2
  D.I. 32 (also found at Backertop Licensing LLC v. Canary Connect, Inc., 2023
WL 3182084 (D. Del. May 1, 2023)).
3
  D.I. 37 (also found at Backertop Licensing LLC v. Canary Connect, Inc., 2023
WL 3736766, at* 1 (D. Del. May 31 , 2023), reconsideration denied, 2023 WL
4420467 (D. Del. July 10, 2023)).
4
  D.I. 45 (also found at Backertop Licensing LLC v. Canary Connect, Inc. , 2023
WL 4420467, at *1 (D. Del. July 10, 2023)).
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Technologies LLC v. CNET Media, Inc., 2022 WL 17338396 (D. Del. Nov. 30,

2022), all of which I incorporate herein.

       Ms. LaPray did not appear at the August 1 hearing. D.I. 55 at 4:2-5.

Backertop's newly added counsel, Mr. David Finger, stated at that hearing that

"these proceedings should not be going forward" and that Backertop and Ms.

LaPray would "stand on" the arguments set forth in the Motion to Dismiss

Contempt Proceeding (the Motion) they filed on July 28, 2023 (D.I. 54). D.I. 55 at

3:8-4: 1.

                                            I.

      None of the arguments made in the Motion provides good cause for Ms.

LaPray's refusal to comply with the May 31, 2023 Memorandum Order and to

participate further in these proceedings.

       The principal argument of the Motion is that I "lack[ ] authority to pursue

this contempt proceeding" because "the underlying proceedings are moot" due to

"Backertop voluntarily dismiss[ing] its complaints in September 2022, and

Backertop and the Defendants fil[ing] joint stipulations of dismissal in April 2023

and June 2023." D.I. 54 at 1-4 (some capitalization omitted) (footnote omitted).

Although a "nonparty witness may defend against a civil contempt adjudication by

challenging the subject-matter jurisdiction of the district court," U.S. Cath. Conj. v.

Abortion Rts. Mobilization, Inc., 487 U.S. 72, 74 (1988), I already rejected


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Backertop and Ms. LaPray's mootness argument in the May 1, 2023 Memorandum

Opinion. As I explained in relevant part there:

             "It is well established that a federal court may consider
             collateral issues after an action is no longer pending."
             Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395
             (1990) ....

             The Court specifically held in Cooter that a voluntary
             dismissal under Rule 41 (a)( 1) does not deprive a district
             court of jurisdiction over a Rule 11 motion. Id. at 398.
             But as the Third Circuit (whose law governs this Court's
             exercise of its inherent powers) recognized in Haviland v.
             Specter, 561 F. App'x 146, 150 (3d Cir. 2014), there is no
             "principled reason why the Court's decision [in Cooter]
             would not apply equally to sanctions imposed pursuant to
             a district court's inherent authority."

             What I said in Nimitz bears repeating here:

                   "It has long been understood that '[c]ertain
                   implied powers must necessarily result to
                   our Courts of justice from the nature of their
                   institution,' powers 'which cannot be
                   dispensed with in a Court, because they are
                   necessary to the exercise of all others."'
                   Chambers v. NASCO, Inc., 501 U.S. 32, 43
                   ( 1991) (quoting United States v. Hudson, 11
                   U.S. 32, 34 (1812)). "These powers are
                   'governed not by rule or statute but by the
                   control necessarily vested in courts to
                   manage their own affairs so as to achieve the
                   orderly and expeditious disposition of
                   cases."' Id. (quoting Link v. Wabash R. Co.,
                   370 U.S. 626, 630-31 (1962)).

                   The Supreme Court has expressly held that a
                   federal court's inherent powers include the
                   powers I have exercised here: "the power to

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                    control admission to its bar and to discipline
                    attorneys who appear before it," id., the
                    power to enforce compliance with court
                    orders, see id., and "the power to conduct an
                    independent investigation in order to
                    determine whether [the court] has been the
                    victim of fraud." Id. at 44. These powers
                    extend to nonparties. See Manez v.
                    Bridgestone Firestone N. Am. Tire, LLC, 533
                    F.3d 578, 585 (7th Cir. 2008) ("No matter
                    who allegedly commits a fraud on the
                    court-a party, an attorney, or a nonparty
                    witness-the court has the inherent power to
                    conduct proceedings to investigate that
                    allegation and, if it is proven, to punish that
                    conduct."); Corder v. Howard Johnson &
                    Co., 53 F.3d 225,232 (9th Cir. 1994)
                    (" [E]ven in the absence of statutory
                    authority, a court may impose attorney's fees
                    against a nonparty as an exercise of the
                    court's inherent power to impose sanctions
                    to curb abusive litigation practices."
                    (citations omitted)).

             Nimitz, 2022 WL at 17338396 (alterations in the
             original).

             It makes no sense that a party could deprive a court of its
             inherent powers simply by filing a notice (or stipulation)
             of dismissal. Haviland, 561 F. App'x at 150. To hold
             otherwise would render district courts impotent to
             manage their cases in an orderly fashion and would foster
             abuse of our judicial system by unethical litigants and
             their attorneys.

Backertop, 2023 WL 3182084, at *4-5 (D. Del. May 1, 2023) (all but first

alteration in original) (footnote omitted).

      Backertop and Ms. LaPray insist in their Motion that civil contempt is

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"meant to benefit the complainant," and they seem to suggest that a court lacks the

authority to impose sua sponte civil contempt sanctions. D.I. 54 at 1-2. But as the

Supreme Court held in Shillitani v. United States, 384 U.S. 364 (1966):

              There can be no question that courts have inherent power
              to enforce compliance with their lawful orders through
              civil contempt. And it is essential that courts be able to
              compel the appearance and testimony of witnesses. . ..
              Where contempt consists of a refusal to obey a court
              order to testify at any stage in judicial proceedings, the
              witness may be confined until compliance. The
              conditional nature of the imprisonment-based entirely
              upon the contemnor's continued defiance-justifies
              holding civil contempt proceedings absent the safeguards
              of indictment and jury, provided that the usual due
              process requirements are met.

Id. at 370-71 (citations and footnotes omitted). Thus, "it is ... not necessary that a

party-as opposed to the court-raise the concerns that necessitate the exercise of

the court's inherent powers." Backertop, 2023 WL 3182084, at *6 (D. Del. May 1,

2023 ). "As the Supreme Court held in the seminal case, Hazel-Atlas Glass Co. v.

Hartford-Empire Co., 322 U.S. 238, 246 (1944), 'it cannot be that preservation of

the integrity of the judicial process must always wait upon the diligence of

litigants."' Id.

       Backertop and Ms. LaPray also argue that the order compelling Ms. LaPray

to attend the July 20 hearing is invalid and that "[c]ourt orders that are

transparently invalid ... need not be obeyed and can be challenged in a contempt

proceeding." D.I. 54 at 4. On the contrary, as the Supreme Court held in Maggi,o

                                           5
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v. Zeitz, 333 U.S. 56 (1948):

             It would be a disservice to the law if we were to depart
             from the long-standing rule that a [civi16] contempt
             proceeding does not open to reconsideration the legal or
             factual basis of the order alleged to have been disobeyed
             and thus become a retrial of the original controversy.
             The procedure to enforce a court's order commanding or
             forbidding an act should not be so inconclusive as to
             foster experimentation with disobedience. Every
             precaution should be taken that orders issue ... only after
             legal grounds are shown and only when it appears that
             obedience is within the power of the party being coerced
             by the order. But when it has become final, disobedience
             cannot be justified by re-trying the issues as to whether
             the order should have issued in the first place.

Id. at 69 (citations omitted); see also Marshak v. Treadwell, 595 F.3d 478,486 (3d

Cir. 2009) ("As we have frequently stated, a party who is alleged to be in contempt

of a court order may not challenge the substantive merits of that order within

contempt proceedings."); Harris v. City ofPhiladelphia, 47 F.3d 1311, 1326 (3d

Cir. 1995) ("The validity of the underlying order is not open to consideration" in a

civil contempt proceeding.). As made clear in the May 1, 2023 Memorandum

Opinion; the May 31, 2023 Memorandum Order; the July 10, 2023 Memorandum

Opinion; and Nimitz, I took "every precaution" in the instant actions to ensure that

I had jurisdiction and sufficient legal grounds to order Ms. LaPray to attend the




6 The Court expressly stated in Maggio that the matter before it was a "civil

contempt proceeding to coerce obedience." 333 U.S. at 67.

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July 20, 2023 hearing. Accordingly, that order's "alleged infirmities cannot be

relitigated or corrected in a subsequent contempt proceeding." Maggio, 333 U.S.

at 69.

         Backertop and Ms. LaPray also argue that "failure to vacate the proceedings

would violate Backertop and Ms. LaPray's due process rights." D.I. 54 at 3. But

they do not cite any legal authority in support of this assertion or explain why

compelling Ms. LaPray to attend a hearing deprives her or Backertop of due

process.

         Backertop and Ms. LaPray insinuate that I violated their Fifth Amendment

due process rights by not apprising them of their "rights as regards to criminal

proceedings." I say this because they fault me for "rais[ing] the possibility of fraud

on the court, a criminal offense, without first advising either Backertop or Ms.

LaPray of her [sic] rights as regards to criminal proceedings." D.I. 54 at 6; see

also D.I. 54 at 8 ("This Court has been compelling Backertop and Ms. LaPray to

provide testimonial and documentary evidence without advising them of their [sic]

rights in the face of a possible criminal prosecution." (emphasis added)).

Backertop and Ms. LaPray do not identify what "rights as regards to criminal

proceedings" they have in mind. The only "advice of rights" obligation that comes

to my mind is the requirement under Miranda v. Arizona that law enforcement

officers inform the subject of a custodial interrogation of the subject's Fifth


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 Amendment privilege against self-incrimination and the right to have an attorney

 present during the interrogation. 384 U.S. 436,444 (1966). Putting aside the fact

 that Backertop, as a corporate entity, does not enjoy a Fifth Amendment right

 against compelled self-incrimination, Braswell v. United States, 487 U.S. 99, 104

 (1988), "Miranda warnings are not required in civil court proceedings," United

 States v. Rodriguez, 70 F.3d 121, 121 (9th Cir. 1995); see also United States v.

 Kilgroe, 959 F.2d 802, 805 (9th Cir. 1992) ("[E]xcept in the context of custodial

 interrogation, Miranda leaves the responsibility for keeping a citizen informed of

 his constitutional rights with the preeminent guardian of those rights: the citizen

 himself."). In any event, even ifMiranda were somehow violated here (as silly as

 it sounds to say that), "a violation of Miranda is not itself a violation of the Fifth

 Amendment," Vega v. Tekoh, 142 S. Ct. 2095, 2108 (2022), and the sole remedy for

 a Miranda violation is the suppression of the defendant's statements and the fruits

 thereof in criminal cases.

       Backertop and Ms. LaPray's "failure to advise" argument is also moot.

 Because, as I have previously stated, I am concerned about who the real parties in

 interest are in these cases and who actually controls Backertop, I had planned on

 informing Ms. LaPray before questioning her at the July 20 hearing and will

 inform Ms. LaPray before questioning her at any future hearing that she has a right

 to have an attorney represent her personally ( as opposed to Backertop) in these


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matters. And because, as I have previously stated, I am concerned about the

possibility that real parties in interest such as Mavexar and IP Edge may have

perpetrated a fraud on the court, I had also planned on telling Ms. LaPray at the

July 20 hearing and will tell her before questioning her at any future hearing that

she has a Fifth Amendment right to refuse to answer any question if she

"'reasonably believes' her testimony 'could be used in a criminal prosecution or

could lead to other evidence that might be so used."' United States v. Morton, 993

F.3d 198,203 (3d Cir. 2021) (quoting Kastigar v. United States, 406 U.S. 441,

444-45 (1972)). 6

      Finally, Backertop and Ms. LaPray argue that "[i]f the hearing is to go

forward, it must be with another judge" because I "cannot serve as both

investigator and judge." D.I. 54 at 10-11 (emphasis omitted). In support of this

contention, they cite In re Murchison, 349 U.S. 133 (1955), for the proposition that

"[t]here is a presumption of bias when a judicial decision maker has the dual role

of investigating and adjudicating disputes and complaints." D.I. 54 at 10.

Murchison, however, does not stand for this broad conclusion. Instead, "its




6
 Under Third Circuit law, a witness cannot make a blanket invocation of the Fifth
Amendment privilege but must instead assert the privilege on a question-by-
question basis so that the court can assess the propriety of invoking the privilege
against specific circumstances and questions. Nat 'I Life Ins. Co. v. Hartford
Accident & Indem. Co., 615 F.2d 595, 596 (3d Cir. 1980).

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 holding, as opposed to dicta, is confined to the basic constitutional principle of

 prohibiting a judge from adjudicating a case where he was also an investigator for

 the government." Johnson v. Carroll, 369 F.3d 253,260 (3d Cir. 2004) (emphasis

 added). I am, of course, not acting as an investigator for the government.

       Murchison is also not relevant here because it addressed criminal contempt,

 not civil contempt. The Court held in Murchison that a state judge, empowered

 under Michigan law to sit as a "one-man grand jury" and to compel witnesses to

 testify before him in secret about possible crimes, violated the due process clause

 of the Fourteenth Amendment when he "charged two such witnesses with criminal

 contempt, one for perjury and the other for refusing to answer certain questions,

 and then himself tried and convicted them." Withrow v. Larkin, 421 U.S. 35, 53

 (1975) (citing Murchison, 349 U.S. at 138). Unlike criminal contempt

 proceedings, "civil contempt proceedings leave the offended judge solely

 responsible for identifying, prosecuting, adjudicating, and sanctioning the

 contumacious conduct." Int'l Union, United Mine Workers ofAm. v. Bagwell, 512

 U.S. 821, 831 (1994).

       This proceeding is a civil contempt proceeding because its purpose is to

 coerce Ms. LaPray into complying with an order to appear in person and answer

 questions related to Mr. Chang's withdrawal motion and Backertop's document

 production. See D.I. 53 at 8:22-25. As the Third Circuit explained in United


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 States v. Harris, 582 F.3d 512 (3d Cir. 2009):

              Civil contempt orders are intended to be coercive or
              compensatory in nature, and do not require, inter alia, a
              jury trial. Rather, civil contempt is imposed by the judge
              upon a finding that one has failed to comply with a valid
              court order. See Shillitani v. United States, 384 U.S. 364,
              370-71, 86 S. Ct. 1531, 16 L.Ed.2d 622 (1966) ("The
              conditional nature of the imprisonment-based entirely
              upon the contemnor's continued defiance-justifies
              holding civil contempt proceedings absent the safeguards
              of indictment and jury, provided that the usual due
              process requirements are met.") (internal citations and
              quotations omitted); Bagwell, 512 U.S. at 827, 114 S. Ct.
              2552 ("[C]ivil contempt sanctions, or those penalties
              designed to compel future compliance with a court order,
              are considered to be coercive and avoidable through
              obedience, and thus may be imposed in an ordinary civil
              proceeding upon notice and an opportunity to be heard.
              Neither a jury trial no~ proof beyond a reasonable doubt
              is required.").

              With civil contempt, the contemnor will be released
              subject to compliance with some condition. He is thus
              understood, in a by-now familiar observation, to "carr[y]
              the keys of his prison in his own pocket." Bagwell, 512
              U.S. at 828, 114 S. Ct. 2552 (internal citations and
              quotations omitted).

 Id. at 514-15 (alterations in original).

       To sum up, then: Backertop and Ms. LaPray have not demonstrated good

 cause to justify Ms. LaPray's refusal to attend the July 20 hearing and future

 hearings. And, as it is undisputed that Ms. LaPray was given notice of the August

 1 show-cause hearing and an opportunity to be heard, I will fmd her in civil

 contempt. See Bagwell, 512 U.S. at 827 (Civil contempt "may be imposed in an

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 ordinary civil proceeding upon notice and an opportunity to be heard."); Harris v.

 City ofPhiladelphia, 47 F.3d 1311, 1322 (3d Cir. 1995) ("For an indirect

 contempt, such as failure to obey a court order, it is appropriate to give notice by

 an order to show cause and to hold a hearing.").

                                           II.

       Courts are given wide discretion to craft appropriate sanctions for civil

 contempt. Elkin v. Fauver, 969 F .2d 48, 52 (3d Cir. 1992). "The paradigmatic

 coercive, civil contempt sanction ... involves confining a contemnor indefinitely

 until he complies with an affirmative command .... "' Bagwell, 512 U.S. at 828

 (citations omitted). But another appropriate sanction is a fine that can be avoided

 if the contemnor performs the act required by the court. Roe v. Operation Rescue,

 919 F.2d 857, 868 (3d Cir. 1990). In exercising its discretion, the Court must

 "inevitably ... engage in a fair amount of 'judgment calling' based upon its

 experience with the case." Bell v. United Princeton Props., Inc., 884 F.2d 713,

 721 (3d Cir. 1989).

       At this stage, I believe a fine is the appropriate sanction, as I am hopeful the

 avoidance of having to pay a fine will provide sufficient motivation for Ms. LaPray

 to change her mind and comply with the order to appear in this Court for

 questioning. A fine also comports with the principle that "in contempt proceedings

 courts should never exercise more than 'the least possible power adequate to the


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 end proposed."' United States v. United Mine Workers ofAm., 330 U.S. 258,332

 (1947) (Black, J., concurring in part and dissenting in part) (quoting Anderson v.

Dunn, 6 Wheat. 204,231 (1821); In re Michael, 326 U.S. 224,227 (1945)).

       "[I]n fixing the amount of a fine to be imposed as a punishment or as a

 means of securing future compliance, [a court should] consider the amount of [the

 contemnor' s] financial resources and the consequent seriousness of the burden to

 that particular [contemnor]." United Mine Workers, 330 U.S. at 304. The record

 here offers little evidence with respect to Ms. LaPray's financial resources. When

 I asked Backertop's counsel at the August 1 hearing about Ms. LaPray's finances

 and salary, he said he could only "glean" that she was "not of great means."

 D.I. 55 at 4:10-24. We know from the record that Ms. LaPray is a full-time

 paralegal in Dallas, Texas. D.I. 40-3 ,I,r 4, 6. It appears that paralegal salaries in

 Dallas, Texas range from $44,795 to $118,286 with an average salary between

 $67,715 and $88,521. 9 As ofNovember 10, 2022, approximately $2,000 of the

 proceeds from Backertop's lawsuits had been deposited into Ms. LaPray's personal

 bank account. D.I. 24 at 35:3-19. Ms. LaPray may or may not earn additional

 income from her work as the chairwoman of the Dallas GOP. D.I. 24 at 12:19-22.


 9 See Paralegal Salary in Dallas, TX, Salary .com,

 https://www.salary.com/research/salary/general/paralegal-salary/dallas-tx (range
 from $58,766 to $118,286 with an average of $88,521); Paralegal Salary in
 Dallas, TX, Indeed.com, https://www .indeed.com/career/paralegal/salaries/Dallas--
 TX (range from $44,795 to $102,362 with an average of $67,715).

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Her husband is a lawyer, and he also works to support their family. D.I. 40-3 ,r 7;

D.I. 24 at 13:10-14:10.

      Given these circumstances, I find that a $200 per day fine is appropriate and

will impose that fine against Ms. LaPray starting August 23, 2023. Beginning on

that date, Ms. LaPray will be fined $200 every day that the Court is open and Ms.

LaPray does not appear in court. Ms. LaPray can purge her contempt by notifying

the Court that she is prepared to appear at a hearing and then attending that hearing

in person. (After Ms. LaPray notifies the Court that she is prepared to appear in

person at a hearing, the Court will endeavor to promptly schedule that hearing.)

                                         III.

      As noted above, an alleged contemnor cannot challenge the validity of the

underlying order within the civil contempt proceeding. Nonetheless, most of the

arguments set forth in Backertop and Ms. LaPray's Motion focus on the validity of

the underlying order. Because these arguments are irrelevant to the issue before

me, I have largely ignored them. But I think it prudent to address two of the more

misleading arguments Backertop and Ms. LaPray make with respect to the validity

of the underlying order.

      First, Backertop and Ms. LaPray purport to quote from Kisor v. Wilkie, 139

S. Ct. 2400, 2413 (2019), the statement that "[c]ourts cannot conduct factual

investigations." See D.I. 54 at 5. There is, however, no such statement in Kisor.


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What Justice Kagan actually wrote on page 2413 of Kisor is: "Agencies (unlike

courts) can conduct factual investigations, can consult with affected parties, can

consider how their experts have handled similar issues over the long course of

administering a regulatory program." 139 S. Ct. at 2413 (plurality opinion).

Putting aside the fact that Justice Kagan was not writing for a majority of the Court

when she wrote this sentence, Justice Kagan was speaking here of "factual

investigations" in the context of policy-driven fact finding that federal agencies

(and not courts) engage in before promulgating regulations. As she noted in the

immediately preceding sentences in her opinion: "Congress ... is attuned to the

comparative advantages of agencies over courts in making such policy judgments.

Agencies (unlike courts) have unique expertise, often of a scientific or technical

nature, relevant to applying a regulation to complex or changing circumstances."

Id. (internal quotation marks and citations omitted). To be clear, Justice Kagan

was not saying in her plurality opinion in Kisor that courts are prohibited from

conducting factual inquiries. And in any event, a majority of the Supreme Court

explicitly held in Chambers v. NASCO, Inc. that "a court has the power to conduct

an independent investigation in order to determine whether it has been the victim

of fraud." 501 U.S. 32, 44 (1991).

      Second, Backertop and Ms. LaPray accuse me of improperly reading in open

court from "documents Backertop had classified as subject to the attorney-client


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privilege." D.I. 54 at 7. In an earlier filing, incorporated by reference in the

Motion, Backertop and Ms. LaPray made the same accusation and further stated

that my reading of the documents was "in direct contradiction to the Court's

representations to the Federal Circuit that it would keep such documents in

camera" and had "den[ied] Backertop the opportunity to appeal a ruling on

privilege prior to such public disclosure." D.I. 48 at 17.

      As an initial matter, none of the documents from which I read in open court

on June 8 and July 20 are privileged. Second, I read from the documents in the

presence of, and-except for one instance-without objection from, Backertop's

counsel. 8 See D.I. 41 at 13-28 (June 8 hearing exhibit 1 discussion), 28-41, 43-52

(exhibit 2), 41-43, 46-47 (exhibit 3), 54-63 (exhibit 4), 62-74 (exhibit 5), D.I. 53

at 12:3-15:24 (July 20 hearing document discussion). The only time counsel

objected to the reading in open court of a document occurred during the July 20




8
  Exhibit 5 from the June 8 hearing came from Mellaconic IP LLC's document
production. Mr. Chong is also counsel of record for Mellaconic. See Me/laconic
IP LLC v. TimeClock Plus, LLC, No. 22-244; Me/laconic IP LLC v. Deputy, Inc.,
No. 22-541. At the June 8 hearing, I repeatedly noted that Backertop's document
production was inadequate, see D.I. 41 at 7, 17, 29, 31, 94, 98, and I stated that
"there seems to be documents produced in other cases that you would have
expected to see in the production in this case," D.I. 41 at 7:16-23. An example of
the latter is Exhibit 5, which consists of communications involving Mr. Bums
(who is counsel of record for Backertop but not for Mellaconic) and appears to be
responsive to the document production order. Exhibit 5 was produced by
Mellaconic but not by Backertop.

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hearing when I questioned counsel about documents that appeared to be missing

from Backertop' s production:

            THE COURT: So, for instance, there is, in the document
            production that we just got from you within the last hour.
            I realize you may have filed it yesterday or instructed
            deliverers yesterday, but we didn't get it until a few
            minutes ago. But just quickly looking at it, there's at
            least two instances I saw that have a link to a lockbox of
            documents that apparently were provided to Ms. LaPray
            by Mavexar-type people. I didn't see the contents of the
            lockbox in here.

            MR. CHONG: Lockbox?

            THE COURT: Yeah. Did I say lockbox? That's my,
            sorry, my age showing. A Dropbox.

            MR. CHONG: Oh, a Dropbox.

            THE COURT: Let me give you another example.
            You've got -- and you've designated this confidential.
            The very first document is the agreement between your
            law firm, right, and Backertop. You've produced these
            same agreements during hearings with no assertion of
            privilege, how is that privileged here?

            MR. CHONG: They were produced -- when they were
            previously produced -- and I have to go back and check
            the records -- my understanding was that we were
            producing everything under privilege, and that's why
            they were not filed.

            THE COURT: But you've introduced this at a hearing in
            front of me. Right. You actually put up the letter. And
            there was no objection. No?




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            MR. CHONG: I would have to recall that. I mean, I
            would like to go back and look into that. I believe -- I
            don't -- I don't recall off the top of my head.

            THE COURT: Okay, then let's tackle this. Then I've
            got a copy of an engagement letter. There is no cover e-
            mail. There is nothing that you would expect to see as to
            how this document got transported between your law
            firm and Ms. LaPray, how signatures got on it, right. In
            your production, there's nothing attached to that. I mean,
            do you remember how you ended up getting in Ms.
            LaPray's hands an engagement letter, how it was
            executed by her, how you got it back? Do you remember
            anything about that?

            MR. CHONG: I don't. I mean, I produced everything --
            I went through my search on my e-mail, and everything
            that was on my search, I produced. I don't recall
            specifically. I don't, Your Honor.

            THE COURT: All right. Well, then, you know, when I
            look at -- do you have this production in front of you by
            any chance?

            MR. CHONG: Yes, Your Honor.

            THE COURT: So, like, if you tum to Page 26. There's
            an e-mail there from you to Mr. Bums. It says,
            "attachment image 1, image 2." I don't see them in here.
            At least I don't think I do.

            MR. CHONG: I think that's just his -- his firm logo.

            THE COURT: Okay.

            MR. CHONG: That's the attachment is his firm logo.

            THE COURT: All right. Then tum to the next page,
            Page 28, here's the Dropbox, right? Folks from IP Edge


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            are informing Mr. Burns that here's the link to the
            Dropbox that Backertop has with -

            MR. CHONG: I guess, so this information, I think-- I
            believe this is attorney/client privilege, and I think at this
            point, if we were to discuss this, I think if we could seal
            the courtroom, and we could -

            THE COURT: I'm not going to seal the courtroom. I
            haven't discussed anything that could reasonably be
            characterized as attorney/client privilege. All I'm talking
            about is a link to a Dropbox. That's it. I'm not asking
            about the content of the Dropbox, and I'm not going to
            seal the courtroom. All I want to know is, can you tell
            me where the documents located in the Dropbox are?
            Were they produced? That's all I'm looking for.

            MR. CHONG: I guess I would have to go and see if that
            link is still active. I don't know.

            THE COURT: So you don't know. So it doesn't sound
            like you're in a position to say that you really have done
            anything other than obtain oral confirmation from Ms.
            LaPray that Backertop' s document production is
            complete; is that fair?

            MR. CHONG: From Ms. LaPray, Mr. Bums, Mavexar.
            And I had, you know, went through the attachments as of
            the last hearing and produced the attachments from my e-
            mails that I had in my possession. And other than that, I
            don't have access to their Internet system, so I cannot
            access their Internet system, so I can just only produce
            what I have and ask them.

            THE COURT: All right. But you've produced all the
            attachments to the e-mails that you've produced; is that
            fair?

            MR. CHONG: Yes, that is correct.


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D.I. 53 at 12:3-15:24. Clearly, there was no disclosure of privileged

communications during this colloquy with counsel.

         Third, I never "represent[ed] to the Federal Circuit that [I] would keep

[documents produced by Backertop or any other entity] in camera." D.I. 48 at 17.

         Fourth, and finally, I did not "deny[] Backertop the opportunity to appeal a

ruling on privilege prior to" reading from its documents in court. D.I. 48 at 17.

But in any event, a party is not entitled to appeal an adverse ruling on privilege

before a district court makes public documents or testimony that are manifestly not

privileged. If a party were so entitled, then the judicial system would grind to a

halt, as discovery, depositions, trials, and hearings would be put on hold every time

a court overruled a privilege objection. I recognize that in certain circumstances-

such as where the privilege determination is a close call or a matter of first

impression-a stay may be appropriate to allow a party to seek mandamus review

of a privilege ruling. But I have yet to be presented with such circumstances in

these cases.

                                           IV.

         For the reasons discussed above, I will find Ms. LaPray in civil contempt of

court and sanction her to a $200 per day fine until Ms. LaPray appears in person in

court.

         The Court will enter an appropriate order.


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